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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
     VASSILIOS KUKORINIS, on behalf
     of himself and any others similarly
     situated,

           Plaintiff,

     v.                                             Case No. 8:22-cv-02402-VMC-TGW

     WALMART INC.,

           Defendant.


                    PLAINTIFF’S RESPONSE IN OPPOSITION TO
                           JOAN JOHNSON’S MOTION

          On May 28, 2024, Joan Johnson’s request to be “‘added’ as a Plaintiff or Co-

 Plaintiff or Joinder” was docketed by the Court at ECF No. 118. The basis for Ms.

 Johnson’s request is her assertion that she “‘added,’ pertinent, crucial, and substantial

 information regarding this case/settlement” solely referencing her objection to the

 Settlement (see ECF No. 118, pg. 2-7), and which objection was also docketed at ECF

 No. 120. For the following reasons, Ms. Johnson’s request should be denied.1

          First, the “governing law in this circuit holds that intervention to raise

 objections to a potential class action settlement is not warranted where an absent class

 member may make the same arguments at a final approval hearing.” Carr v. Ocwen

 Loan Servicing, No. 1:13-cv-00732, 2014 U.S. Dist. LEXIS 202087, at *23 n.6 (N.D.



 1
  The Court’s May 31, 2024 Order (ECF No. 121) requested the parties to respond to the Motion by
 June 6, 2024; Walmart joins in this Response.

                                                1
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 Ga. Apr. 25, 2014) (citing Grilli v. Metropolitan Life Ins. Co., Inc., 78 F.3d 1533 (11th

 Cir. 1996)); see also Saccoccio v. JP Morgan Chase Bank, N.A., No. 13-cv-21107, 2013 U.S.

 Dist. LEXIS 147810, at *4 (S.D. Fla. Oct. 9, 2013) (denying request to intervene

 because objector was “fully able to protect [her] interest by opting out of the class and

 litigating [his] case separately, or objecting to the settlement if [she chooses] to remain

 in the case.”). The Preliminary Approval Order, ECF No. 75 (“PAO”), ¶¶ 26-32,

 identified the procedures for an absent class member to object to the Settlement. Ms.

 Johnson was able to and did present her objections for the Court’s consideration in

 connection with final approval of the Settlement. Id. 2 Accordingly, consistent with the

 reasoning in Carr, supra, adding or joining Ms. Johnson as a plaintiff is neither

 warranted nor necessary.

        Second, “joinder” of Ms. Johnson pursuant to Fed. R. Civ. P. 20, which provides

 for permissive joinder of parties, would be contrary to the procedural posture of this

 Class Action and is unnecessary. That is consistent with the Court’s April 26, 2024

 Order (ECF. No. 94) denying the filing of Carlton Mathews’ supplemental complaint

 (ECF No. 93) on the basis that “class actions are only permitted if ‘the class is so

 numerous that joinder of all members is impracticable.’ Fed. R. Civ. P. 23(a)(1)).”

 Moreover, in the PAO the Court already, for Settlement-purposes, conditionally

 certified the Settlement Class, of which Ms. Johnson concedes she is a member by



   2
    Ms. Johnson’s objection, along with the other five objections, are addressed in Plaintiff’s June 5,
 2024 supplemental brief filed in further support of the settlement, which demonstrated why the
 objections, including Ms. Johnson’s, must be overruled.

                                                   2
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 virtue of her submitting an objection (and not filing an opt-out request). 3 Furthermore,

 Ms. Johnson states no basis, nor does a colorable basis exist, rendering her joinder

 necessary or appropriate to meet the “central purpose of” Rule 20 “to promote trial

 convenience and expedite the resolution of disputes.” Alexander v. Fulton Cnty., Ga.,

 207 F.3d 1303, 1323 (11th Cir. 2000) (citation omitted), overruled on other grounds

 by Manders v. Lee, 338 F.3d 1304 (11th Cir. 2003). Ms. Johnson’s joinder would not aid

 or accomplish either of those purposes.

        Third, Ms. Johnson is improperly seeking to intervene now in the Action. See,

 e.g., Grilli, 78 F.3d at 1536 (“The [district] court stated that even though the

 [Objectors], as class members, had a legally protectable interest in the action, they were

 not entitled to intervene as of right under Rule 24. See Fed. R. Civ. P. 24(a)”). As the

 Court held in its May 23, 2024 Order, ECF No. 115, the Court will not “permit …

 intervention at this late stage [which] could disrupt the settlement…Forward

 Momentum, LLC v. Team Health, Inc., No. 2:17-CV-346-WKW, 2022 U.S. Dist. LEXIS

 146317, at *9 (M.D. Ala. July 6, 2022).” That directive applies equally to Ms. Johnson.

 See also In re Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 336-37 (N.D. Ga.

 1993) (objectors failed to demonstrate unique interests or inadequate representation by

 class representatives and counsel; no evidence of collusion was presented, and

 dissatisfaction with settlement aspects does not warrant intervention, as the goals of



   3
    Plaintiff’s response assumes that Ms. Johnson is an absent class member, but Plaintiff does not
 otherwise concede that Ms. Johnson is and reserves all rights to make any such argument concerning
 her status as an absent class member.

                                                 3
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 Rule 23 “would be defeated if the Court permitted every individual or entity that

 objected to discrete aspects of the settlement to intervene”).

       Accordingly, for the foregoing reasons, Plaintiff respectfully requests that the

 Court deny Ms. Johnson’s request to be added or joined as a Plaintiff.

 Dated: June 5, 2024                      Respectfully submitted,
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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2024 the foregoing document was served on

 Counsel of record by the Court’s electronic filing system.

                                                /s/ Kimberly M. Donaldson-Smith
                                                Kimberly M. Donaldson-Smith




                                            1
